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15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17
     UNITED STATES                                  Case No. 2:23-cr-00599-MCS
18
19                     Plaintiff,                   Hon. Mark C. Scarsi

20         vs.                                      MR. BIDEN’S THIRD MOTION IN
                                                    LIMINE TO EXCLUDE
21 ROBERT HUNTER BIDEN,
                                                    REFERENCE TO HIS
22                                                  “EXTRAVAGANT” LIFESTYLE
                Defendant.
                                                    AND SALACIOUS DETAILS
23
                                                    ABOUT SPENDING ON
24                                                  PERSONAL EXPENSES
25
                                                    Hearing Date: August 21, 2024
26                                                  Hearing Time: 1:00 p.m.
                                                    Courtroom:    7C
27
28

                              DEFENDANT’S THIRD MOTION IN LIMINE
                                    CASE NO. 2:23-CR-00599-MCS-1
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 1
           Defendant Robert Hunter Biden, by and through his counsel of record, hereby
 2
     files this Motion in Limine to exclude any reference to his purportedly “extravagant”
 3
     lifestyle and any salacious details about his personal expenses. This evidence should
 4
     be excluded under the Federal Rule of Evidence 403 balancing test, as the risk of
 5
     unfair prejudice, confusing the issues, and misleading the jury far outweighs any
 6
     purported probative value of including such specific unnecessary details. On May 17,
 7
     2024, Mr. Biden’s counsel asked for the Special Counsel’s position on this proposed
 8
     motion in limine. On May 20, 2024, the Special Counsel indicated he intends to
 9
     oppose such a motion.
10
11
12
13   Dated: July 31, 2024                         Respectfully submitted,
14
                                                   /s/ Angela M. Machala
15                                                 Angela M. Machala
16
                                                   /s/ Mark Geragos
17                                                 Mark J. Geragos
18                                                 Tina Glandian
                                                   Setara Qassim
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20                                                 Abbe David Lowell
                                                   Christopher D. Man
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22                                                 Attorneys for Robert Hunter Biden
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                              DEFENDANT’S THIRD MOTION IN LIMINE
                                 CASE NO. 2:23-CR-00599-MCS-1
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         Mr. Biden moves to exclude any evidence, testimony, or reference to his
 3   alleged “extravagant” lifestyle during the time period in question and any salacious
 4   details about money purportedly spent on certain personal expenses, including, but not
 5   limited to, reference to sex workers, adult entertainment, a sex club membership,
 6   pornography, and strip clubs.1 To the extent the Court is inclined to allow into
 7   evidence that Mr. Biden spent money on items other than his taxes in the years
 8   charged, Mr. Biden would agree to stipulate that he spent money on other, generalized
 9   “personal expenses.”
10         The Special Counsel’s focus on Mr. Biden’s payment for items sexual in nature,
11   referenced repeatedly in the Indictment, would be unfairly prejudicial beyond any
12   possible probative value and would pose a danger of confusing the issues and
13   misleading the jury. Fed. R. Evid. 403; Boyd v. City & Cnty. of San Francisco, 576
14   F.3d 938, 949 (9th Cir. 2009) (failure to exclude song lyrics referencing prostitution
15   was an error because they had no probative value and were unfairly prejudicial in light
16   of their offensive nature); United States v. Rakow, 2006 WL 8445943, at *5 (C.D. Cal.
17   July 3, 2006) (prohibiting government from highlighting specific expenditures from a
18   credit card statement as prejudicial); Kitsch LLC v. Deejayzoo, LLC, 2023 WL
19   4291445, at *5 (C.D. Cal. May 8, 2023) (on motion to exclude derogatory or
20   inflammatory descriptions about plaintiff or its products, such as “knockoff,”
21   “Chinese,” or “pirate,” the court excluded such terms under Rule 403, and stated
22   “parties shall make their arguments in neutral, non-inflammatory terms.”). None of
23   the evidence on this issue is relevant to any of the elements that the Special Counsel
24   needs to prove in this tax-focused Indictment.
25
26   1
       Mr. Biden raised concerns with this type of language in his Motion to Strike
     Surplusage. (DE 33.) The Court issued an order stating that it is not this Court’s
27   practice to read the Indictment, or provide a copy of it, to the petit jury. (DE 34.)
     However, that order does not remedy the issue of presenting the jury with prejudicial
28   language through evidence and testimony at trial.
                                                2
                              DEFENDANT’S THIRD MOTION IN LIMINE
                                  CASE NO. 2:23-CR-00599-MCS-1
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 1
           Unnecessary salacious details—especially relating to collateral alleged sexual
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     conduct—is exactly the type of prejudicial, inflammatory evidence that makes a
 3
     conviction more likely because it provokes an emotional response in the jury. See
 4
     United States v. Yazzie, 59 F.3d 807, 822 (9th Cir. 1995). The Special Counsel may
 5
     wish to introduce such evidence for the very reason that it is salacious and would
 6
     pique the interest of the jury, but for the same reasons and because such evidence
 7
     would distract the jury from the crimes charged, such information would also be
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     highly prejudicial to Mr. Biden. Introduction of this evidence would be an improper
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     use of character evidence and is irrelevant to prove that Mr. Biden allegedly
10
     committed the crimes charged in the Indictment.
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           Accordingly, Mr. Biden respectfully requests that the Court exclude reference
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     to his purportedly “extravagant” lifestyle and salacious details about money spent on
13
     certain personal expenses, including, but not limited to, sex workers, adult
14
     entertainment, a sex club membership, pornography, and strip clubs.
15
16
     Date: July 31, 2024                  Respectfully submitted,
17
18                                        By: /s/ Angela M. Machala
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                              DEFENDANT’S THIRD MOTION IN LIMINE
                                 CASE NO. 2:23-CR-00599-MCS-1
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                           DEFENDANT’S THIRD MOTION IN LIMINE
                               CASE NO. 2:23-CR-00599-MCS-1
